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                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF DELAWARE

  NO LABELS,

           Plaintiff,
                                                        Case No. Case 1:23-cv-01384-GBW
  v.

  NOLABELS.COM INC.,

           Defendant.


                            DECLARATION OF NICHOLAS CONNORS

           I, Nicholas Connors, do hereby declare and state the following based on first-hand

knowledge:

           1.      I am the Director of Ballot Access at No Labels.

           2.      I submit this declaration in further support of Plaintiff’s Motion for Temporary

Restraining Order and/or Motion for Preliminary Injunction based on my information,

knowledge and belief and the records in this matter.

           3.      If called as a witness, I could and would testify competently to the information

detailed in this declaration.

           4.      No Labels was granted registration for its NO LABELS trademark, No.

3,946,066, on April 12, 2011, for use with “issue advocacy; public advocacy to promote

awareness of public policy options and political issues” in Class 35 (the “No Labels Registered

Trademark”).

           5.      There are several state-level organizations with which No Labels is affiliated,

including, but not limited to, in Alaska, Arizona, Arkansas, Colorado, Florida, Hawaii, Kansas,

Mississippi, Nevada, North Carolina, Oregon, South Dakota, and Utah (the “No Labels State-

Affiliated Entities”).

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           6.      No Labels authorizes the No Labels State-Affiliated Entities, some of which are

organized and registered as political parties per the relevant state regulations, to use the No

Labels Registered Trademark as part of their operation.

           7.      Most of the No Labels State-Affiliated Entities have bylaws that govern their

operation.

           8.      By way of example, the Constitution and Bylaws of the No Labels Party of

Florida (“NLF”) acknowledge that NLF is authorized by No Labels to perform certain public-

facing activities consistent with the mission of No Labels. This document can be viewed

publicly by way of the Florida Department of State – Division of Elections.

https://dos.elections.myflorida.com/campaign-docs/?account=83601 and is attached hereto as

Attachment “A”.

           9.      Section 2 of the NLF Bylaws is entitled “Purpose and Authorized Activities[.]”

Under the heading “Authorized Activities[,]” the NLF Bylaws provide that it is “authorized by

No Labels” to conduct a specified list of activities in Florida, which include, among other things:

(a) obtaining ballot access for candidates nominated by No Labels for the federal offices of

President and Vice President; (b) conducting campaigns for candidates nominated by No Labels

for those federal offices: (c) maintaining a public and functioning website to publish meeting

notices and other information; (d) raising and expending funds, as necessary, to carry out

authorized activities; and (e) performing other tasks necessary or legally required to carry out

authorized activities.

           10.     The NLF Bylaws also list activities that are “not authorized” including that NLF

is “not authorized to nominate, support, or oppose any candidate for a state, county, municipal,

school, or district office position.”



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           11.     No Labels Nevada (“NLNV”) is another No Labels State-Affiliated Entity that

has issued a Constitution and Bylaws. The document is publicly available on the official website

for the Nevada Secretary of State.

https://www.nvsos.gov/sos/home/showpublisheddocument/12295/638270935789070000 and is

attached hereto as Attachment “B”.

           12.     The NLNV Bylaws contain a list of activities that are authorized by No Labels.

This list is almost identical to the activities authorized by No Labels to the No Labels State-

Affiliated Entity in Florida. See Paragraphs 8 through 10 above.

           13.     Although the bylaws vary slightly by state due to state laws, these are typical of

the bylaws associated with other No Labels State Entities.

           14.     If one of the No Labels State Entities refused to comply with these bylaws and

engaged in conduct that No Labels deemed to exceed these authorized activities or deemed to be

inappropriate, No Labels would revoke that No Labels State Entity’s right to use the No Labels

Registered Trademark.

           15.     On November 9, 2023, counsel for No Labels Party of Alaska wrote to the

Director of the Alaska Division of Elections concerning a candidate’s unauthorized association

with the No Labels Party of Alaska.

           16.     A true and accurate copy of the letter is attached hereto as Attachment “C”.

           17.     On October 19, 2023, counsel for No Labels Party of Arizona initiated litigation

in the United States District Court for the District of Arizona concerning certain candidates’

unauthorized association with the No Labels Party of Arizona and the Secretary of State of

Arizona’s actions concerning the candidates’ registration. The case is captioned as “The No




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Labels Party of Arizona, an Arizona Political Party v. Adrian Fontes, in his official capacity as

the Secretary of State of Arizona, Case No. 2:23-cv-02172-JJT (Dist. Ariz.).”

           18.     A true and accurate copy of the complaint is attached hereto as Attachment “D”.

           19.     I declare under penalty of perjury as provided by law that the statements

contained in this declaration are true and correct to the best of my knowledge and belief.

     EXECUTED this 14th day of December, 2023.



                                                        ____________________________
                                                             Nicholas Connors




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            ATTACHMENT A
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             ATTACHMENT B
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                                   No LABELS NEVADA 20220EcBPM12:09
                           CONSTITUTION AND BYLAWS

1. Organization Name and Governance.

   a. Name. The name of this organization shall be No Labels Nevada ("NLNV").
   b. Pm:pose. NLNV shall be governed by this document, the Constitution and Bylaws, which shall
      serve as NLNV's constitution. charter, bylaws, mks, and regulations for purposes of Nevada state
      law.

2. Purpose and Authorized Activities.

   a. Purpose. NLNV is the state-level affiliate organization of No Labels, Inc. ("No Labels") in Nevada.

   b. Authorized Activities. NLNY is authorized by No Labels to conduct the following activities in
      Nevada: (i) select delegates to participate in the national nominating convention of No Labels; (ii)
      obtain ballot access for candidates nominated by No Labels for the federal offices of President and
      Vice President; (iii) designate eligible individuals for Presidential and Vice-Presidential Elector;
      (iv) conduct campaigns for candidates nominated by No Labels for the federal offices of President
      and Vice President; (v) raise and expend funds, as necessary, to carry out authorized activities; and
      (vii) perfonn other tasks necessary or legally required to carry out authorized activities. NLNV is
      not authorized and shall not nominate, support, or oppose any candidate for a state, county,
      municipal, school, or district office or position.

3. Membership.

   a. Eligibility and Qualification. An individual is an NLNV Member if they are: ( 1) a U.S. citizen who
      resides in Nevada; (2) 18 years of age or older; and (3) a recognized and current member in good
      standing of No Labels.

   b. Rights. All NLNV Members are entitled to participate in NLNV as described in the Constitution
      and Bylaws.

4. State Executive Committee.
   a. Powers and Duties. The State Executive Committee ("Committee") directs and administrates
      NLNV authorized activities. The Committee also performs other tasks as described in the
      Constitution and Bylaws.

   b. Composition, Appointment, Qualifications, and Terms of Service. The Committee consists of no
      fewer than two individuals, each of whom must be an NLNV Member. The initial members of the
      Committee shall be appointed by No Labels. Each member of the Committee serves a term that
      lasts until the Committee member dies, resigns, or is removed by No Labels. If a vacancy occurs
      on the Committee, the vacancy shall be filled by No Labels. The Committee shall file an amended
      certificate of existence with the Nevada Secretary of State within five days of any Committee
      member's vacancy and/or replacement.

   c. Officers.
        1.   The Committee shall elect from among its number a Chair, Secretary, and Treasurer. No
              individual may hold more than one office, other than the offices of Secretary and Treasurer.
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              Each officer shall serve a term that lasts until the officer dies, resigns, or is removed from
              such officer position by the procedure of a vote of no less than two-thirds of the Committee's
              other members. The Committee shall notify the Nevada Secretary of State within five days
              of any change to NLNV officer positions.
        11.   The Chair shall serve as NLNV's chief executive officer, authorize in writing any
              fundraising or spending by NLNV, consider requests to use NLNV's name or symbols,
              preside over all meetings or gatherings convened to conduct NLNV business, and
              communicate or select a designee to communicate on behalf of NLNV.
       iii.   The Secretary shall issue all notices required under the Constitution and Bylaws.
       1v.    The Treasurer shall authorize in writing the raising of contributions to NLNV, ensure the
              timely deposit of any contributions to NLNV into NLNV's designated bank depository
              account, and authorize in writing the expenditure of NLNV funds according to a budget set
              forth by the Committee. The Treasurer shall periodically report to the Committee on
              NLNV's financial activity, including an accmmting of all authorized fundraising efforts,
              deposits, and authorized expenditures. The Treasurer shall have custody of any funds and
              financial records of NLNV, ensure NLNV funds are maintained and disbursed properly in a
              lawful manner and perform any other duties required by Nevada law.

   d. Meetings. Meetings of the Committee are held at least once each calendar year to elect party officers
      and for the transaction of other pa11y business. Either the Committee's Chair or a majority of the
      Committee's members may call for a meeting at any other time. Notice of a meeting must be
      distributed to all members of the Committee prior to the meeting and provide the meeting's purpose,
      time, place (if any), and method to attend via telephone and/or videoconference. The Committee's
      members may participate in a meeting through use of telephone, videoconference, or similar
      communications equipment, so long as all members of the Committee participating in the meeting
      can hear one another. A quorum for the transaction of business at a meeting consists of a majority
      of the Committee's members. The Committee takes action at a meeting through an affirmative vote
      of the majority of the Committee's members who are present at a duly held meeting. All meetings
      of the Committee shall be conducted according to Robert's Rules of Order or other generally
      accepted parliamentary practices.

   e. Action Outside a Meeting. Any action that may be taken during a meeting of the Committee may
      be taken without such a meeting, if authorized in writing (including via email or other electronic
      method) by a majority of all members of the Committee.

5. Convention of Membership.
   a. Purpose. NLNV may hold a Convention of its Members during each Presidential election year for
      the purpose of selecting delegates and alternate delegates to pa11icipate in the national nominating
      convention of No Labels. NLNV Members may also raise for discussion at the Convention other
      matters related to NLNV's authorized activities.

   b. Timing and Notice. The Committee shall set the time, date. and place of the Convention, timely
      notify NLNV Members of the Convention, and timely publish public notice of the Convention. The
      Committee may choose to facilitate NLNV Members' participation and/or observation of the
      Convention through use of telephone, videoconference, or similar communications equipment.

   c. Convention Procedures. The Chair shall preside at the Convention. The Convention shall be
      conducted according to Robert's Rules of Order or other generally accepted parliamentary practices.
      A quorum for the transaction of business at the Convention consists of a majority of NLNV's
      Members. Delegates and alternate delegates to the national nominating convention of No Labels


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       may be selected by NLNV"s Members at the Convention according to the procedures set forth by
       No Labels for delegate and alternate delegate selection.

6. Nominees for President and Vice President.
   The Presidential and Vice-Presidential nominees of NLNV shall be the candidates nominated at the No
   Labels national nominating convention. The Committee shall ensure that only one candidate may he
   nominated for each office. The Committee shall timely undertake all necessary and legally required
   actions for the nominees of No Labels for the federal oflices of President and Vice President to appear
   on the general election ballot in Nevada.

7. Selection of Presidential and Vice-Presidential Electors.
   The Committee shall timely undertake all necessary and legally required actions to select, designate,
   and qualify eligible individuals to serve as Presidential and Vice-Presidential Electors. Presidential and
   Vice-Presidential Electors must sign the No Labels Conditions of Appointment or Nomination prior to
   formal selection, designation, or qualification. The Committee shall also designate, as necessary,
   alternates to serve as Electors in the event that an Elector dies, resigns, is legally disqualified or
   incapacitated, refuses to act, fails to attend the Elector meeting, or fails to abide by the No Labels
   Conditions of Appointment or Nomination.

8. Adoption of Bylaws; Amendments to Bylaws.
   These Bylaws may be adopted by a majority of the Committee. These Bylaws may be amended or
   repealed by a majority of the Committee upon the written consent of No Labels. The Committee shall file
   an amended certificate of existence with the Nevada Secretary of State reflecting any amendments to these
   Bylaws no later than five days after such amendments are adopted.




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             ATTACHMENT C
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                                                                                         November 9, 2023

        Via Email

        Carol Beecher
        Director
        Alaska Division of Elections
        PO Box 110017
        Juneau, AK 99811-0017
        Carol.beecher@alaska.gov

                               Re: No Labels Party of Alaska

        Ms. Beecher:

                On September 29, 2023, counsel for No Labels Party of Alaska notified you that Richard
        Grayson, who had recently filed a Declaration of Candidacy for U.S. House of Representatives, is
        erroneously listed on your website as affiliated with the “No Labels Party,” despite the fact that
        the No Labels Party of Alaska is a “limited political party.” As a limited political party, No Labels
        Party of Alaska is not participating in elections for any office other than President and Vice
        President of the United States. A candidate running for the U.S. House of Representatives can
        choose to be listed as affiliated with either a “political party” or a “political group,” but not with a
        “limited political party.” If the Division of Elections persists in inaccurately representing on its
        website that Mr. Grayson’s U.S. House of Representatives candidacy is affiliated with the No
        Labels Party of Alaska, the No Labels Party of Alaska reserves all options to enforce its rights.
        Indeed, the No Labels Party of Arizona recently filed suit against the Arizona Secretary of State
        after he allowed candidates, including Mr. Grayson, to declare candidacies purportedly affiliated
        with No Labels for offices other than President and Vice President of the United States.1

                The No Labels Party of Alaska has chosen to organize itself as a “limited political party”
        under Ak. Stat. §§ 15.80.010(16) and is qualified only to nominate candidates for Presidential and
        Vice-Presidential electors. The No Labels Party of Alaska is not qualified as a “political party” in
        Alaska because it has not registered the requisite 5,000 Alaska voters to qualify for that status. See
        Ak. Stat. §§ 15.80.010(27), 15.80.008. It is also not a “political group” because it is not seeking
        status as a recognized political party. See Ak. Stat. § 15.80.008; 6 Ak. Admin. Code § 25.140.
        Limited political parties, like the No Labels Party of Alaska, do not participate in elections for

        1
            For your reference, a copy of that complaint is enclosed.

BARRY J. POLLACK | H S - L A W . C O M | B P O L L A C K @ H S - L A W . C O M | D I R E C T ( 2 0 2 ) 6 1 7 - 5 9 7 1

MAIN (212) 397-3370 | FAX (212) 202-6206 | 1775 PENNSYLVANIA AVE, NW, SUITE 650, WASHINGTON, D.C. 20006
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 other offices in the state. Not surprisingly, then, candidates for other offices may not list
 themselves as being affiliated with a limited political party for purposes of that race.

          On October 2, 2023, the Alaska Division of Elections responded to the No Labels Party of
 Alaska by noting that Mr. Grayson indicated that he was registered with the No Labels Party of
 Arizona and on that basis could list his candidacy for U.S. House of Representatives as being
 affiliated with No Labels. Mr. Grayson, however, must be “registered as affiliated” with a
 “political party” or “political group” organized under Alaska law. The No Labels Party of Arizona
 has no status whatsoever under Alaska law and, in any event, the No Labels Party of Arizona,
 under its bylaws and Constitution was formed for the limited specific purpose of placing yet-to-
 be-identified nominees for President and Vice President on the 2024 general-election ballot.
 Accordingly, to the extent that the No Labels Party of Arizona had any status under Alaska law, it
 would be, just as the No Labels Party of Alaska is, a “limited political party,” not a “political party”
 or “political group.” No candidate under Alaska law can, as a candidate for the U.S. House of
 Representatives, affiliate himself with No Labels of Arizona, just as he could not affiliate himself
 with the No Labels Party of Alaska. Neither is a “political party” or “political group” under Alaska
 law.

         The No Labels Party of Alaska chose to become a limited political party under Alaska law
 specifically because it does not wish to be associated with candidates for any office other than
 president or vice president. It does not intend or desire to have any candidate for any
 congressional, state, judicial, or local office purport to be affiliated with it for purposes of that
 candidacy. Permitting Mr. Grayson to list himself as affiliated with the No Labels Party of Alaska
 for purposes of his candidacy for U.S. House of Representatives, despite the status of No Labels
 Party of Alaska as a limited political party, not only violates Alaska law, it also is inconsistent with
 No Labels Party of Alaska’s associational goals and violates its constitutional rights.2

         Please let us know if the Alaska Division of Elections agrees it will cease permitting Mr.
 Grayson on its website or primary ballot to state to indicate that he is affiliated with the No Labels
 Party for purposes of his candidacy for the U.S. House of Representatives. If, on the other hand,
 the Alaska Division of Elections is inclined to continue to permit Mr. Grayson on its website or
 primary ballot to state that he is affiliated with the No Labels Party for purposes of his candidacy
 for the U.S. House of Representatives, in violation of Alaska law and the First and Fourteenth



 2
   Permitting Mr. Grayson to list himself as a No Labels Party candidate for the U.S. House of
 Representatives violates No Labels Party of Alaska’s First and Fourteenth Amendment rights of
 association. “[A] corollary of the [First Amendment] right to associate is the right to not
 associate.” Cal. Democratic Party v. Jones, 530 U.S. 567, 574 (2000). “This First Amendment
 freedom to gather in association for the purpose of advancing shared beliefs is protected by the
 Fourteenth Amendment from infringement by any State.” Democratic Party of U. S. v. Wisconsin
 ex rel. La Follette, 450 U.S. 107, 121 (1981). The law is clear that a state may not substitute its
 own judgment for that of an organization in determining “the structure which best allows it to
 pursue its political goals.” Tashjian v. Republican Party of Conn., 479 U.S. 208, 224 (1986).
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 Amendment rights of the No Labels Party of Alaska, No Labels Party of Alaska reserves its rights
 to take further action to obtain appropriate relief.

        Thank you for your prompt attention to this matter. Please respond to this letter no later
 than November 3, 2023. If you have any questions, please do not hesitate to contact me.


                                                     Sincerely,



                                                     Barry J. Pollack
                                                     Counsel for the No Labels Party of Alaska
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             ATTACHMENT D
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   1   David B. Rosenbaum, No. 009819
       Andrew G. Pappas, No. 034432
   2   Emma J. Cone-Roddy, No. 034285
       Brandon T. Delgado, No. 035924
   3   OSBORN MALEDON, P.A.
       2929 North Central Avenue, 20th Floor
   4   Phoenix, Arizona 85012-2793
       (602) 640-9000
   5   drosenbaum@omlaw.com
       apappas@omlaw.com
   6   econe-roddy@omlaw.com
       bdelgado@omlaw.com
   7
       Attorneys for Plaintiff
   8

   9

  10                      IN THE UNITED STATES DISTRICT COURT

  11                             FOR THE DISTRICT OF ARIZONA

  12    The No Labels Party of Arizona, an
        Arizona political party,                       No.
  13
                             Plaintiff,
  14                                                                COMPLAINT
        vs.
  15
        Adrian Fontes, in his official capacity as
  16    the Secretary of State of Arizona,
  17                        Defendant.

  18

  19          Plaintiff The No Labels Party of Arizona (“Plaintiff” or “No Labels Arizona”)
  20   brings this Complaint against Defendant Adrian Fontes, in his official capacity as the
  21   Secretary of State of Arizona (“Defendant” or the “Secretary”). For its Complaint against
  22   the Secretary Fontes, No Labels Arizona alleges as follows:
  23                                       INTRODUCTION
  24          1.     Arizona’s election laws confer discretion on a political party whether to
  25   participate in a particular election by nominating candidates for the ballot in that race.
  26   Specifically, A.R.S. § 16-301(A) provides that each political party “intending to make
  27   nominations for the ensuing general” election, “if it desires to have the names of its
  28   candidates printed on the official ballot at that general,” shall nominate the candidate at a
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   1   primary election. (emphasis added.) A political party that decides against nominating a
   2   candidate through a primary election must live with the consequence that “no candidate
   3   for that office for that party may appear on the general or special election ballot” under
   4   A.R.S. § 16-302. Arizona law by its express terms, therefore, does not mandate a party’s
   5   participation in the primary. The language twice makes clear that not every party entitled
   6   to nominate a candidate in a primary election must do so: a party must also “intend[] to
   7   make nominations for that public office and “desire[]” to have the name of the party’s
   8   nominee for that office printed on the general-election ballot. A.R.S. § 16-301. State law
   9   circumscribes a political party’s right to choose the selection process by requiring a
  10   primary election only if the party desires to have the names of its candidates printed on
  11   the ensuing general election ballot.
  12          2.     The First and Fourteenth Amendments to the U.S. Constitution likewise
  13   endow political parties with broad rights to freedom of association. A political party’s
  14   “determination of the boundaries of its own association, and of the structure which best
  15   allows it to pursue its political goals, is protected by the Constitution.” Tashjian v.
  16   Republican Party of Conn., 479 U.S. 208, 224 (1986) (holding a state may not substitute
  17   its own judgment for that of the party in determining “the structure which best allows it
  18   to pursue its political goals”). A political party also has the right to “limit its membership
  19   as it wishes, and to choose a candidate-selection process that will in its view produce the
  20   nominee who best represents its political platform.” N.Y. State Bd. of Elections v. Lopez
  21   Torres, 552 U.S. 196, 202 (2008). These rights can be “circumscribed” only if the
  22   organization chooses to avail itself of “the right to have their candidates appear with party
  23   endorsement on the general-election ballot.” Id. at 203.
  24          3.     No Labels Arizona does not intend or desire to associate with or nominate
  25   any candidate for U.S. Senator or Corporation Commissioner, or for any congressional,
  26   state, judicial, county, or precinct office. And it does not want to have its candidates listed
  27   on the general election ballot for those offices. Indeed, No Labels Arizona has repeatedly
  28   communicated to the Secretary that it will nominate candidates only for the offices of

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   1   President and Vice President. No Labels Arizona also adopted Constitution and Bylaws
   2   that limit its focus to these offices. This is intentional. With finite time and resources to
   3   bring to bear before the 2024 general election, No Labels Arizona has determined the
   4   boundaries of its association and structured itself to focus exclusively on securing ballot
   5   access for the offices of President and Vice President, consistent with the Party’s
   6   objective of ensuring that Arizonans have a potential Presidential candidate option other
   7   than the candidates who may be selected at the Democratic and Republican conventions.
   8          4.     Rather than follow Arizona law or the U.S. Constitution, Secretary Fontes
   9   is forcing No Labels Arizona to participate in elections for Arizona Corporation
  10   Commissioner and U.S. Senator. By forcing No Labels Arizona to participate in an
  11   election against its desire and goals, Secretary Fontes has violated the Arizona law and
  12   the U.S. Constitution.
  13                              PARTIES AND JURISDICTION
  14          5.     Plaintiff The No Labels Party of Arizona (“No Labels Arizona”) is a
  15   recently recognized Arizona political party. No Labels Arizona is a state-level affiliate
  16   of No Labels, Inc., which is a 501(c)(4) nonprofit headquartered in Washington, D.C. No
  17   Labels, Inc. was established in 2009 to bridge the partisan divide in Washington by
  18   advancing commonsense reforms and convening officeholders from both major parties.
  19   No Labels, Inc. has a 13-year record of working across the aisle to effect change in many
  20   public policy areas. No Labels Arizona was established for the specific purpose of
  21   placing yet-to-be-identified nominees for President and Vice President on the 2024
  22   general-election ballot in Arizona, which is reflected in No Labels Arizona’s adopted
  23   Constitution and Bylaws.
  24          6.     Defendant Adrian Fontes (“Fontes”) is the Secretary of State of Arizona
  25   and a resident of Arizona and is named in his official capacity only. He is Arizona’s chief
  26   election officer and is responsible for the administration and implementation of election
  27   laws in Arizona. The Secretary, personally and through the conduct of his employees,
  28   officers, agents, and servants, acted under color of state law at all times relevant to this

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   1   action.
   2             7.    Plaintiff brings this action under 42 U.S.C. §§ 1983 and 1988 to redress the
   3   deprivation under color of state law of rights secured by the United States Constitution.
   4             8.    This Court has original jurisdiction over the subject matter of this action
   5   pursuant to 28 U.S.C. §§ 1331 and 1343, because the matters in controversy arise under
   6   the Constitution and laws of the United States.
   7             9.    This Court has supplemental jurisdiction over Plaintiff’s state law claim
   8   under 28 U.S.C. § 1367 as it arises out of the same facts.
   9             10.   This Court has personal jurisdiction over the Defendant.
  10             11.   Venue is appropriate in this Court under 28 U.S.C. § 1391(b)(1) and (b)(2).
  11             12.   This Court has the authority to enter a declaratory judgment pursuant to 28
  12   U.S.C. §§ 2201 and 2202.
  13                                  FACTUAL ALLEGATIONS
  14             13.   No Labels Arizona’s only current purpose is the potential nomination of
  15   candidates for President and Vice President for the 2024 General Election in Arizona. No
  16   Labels Arizona envisions the potential nomination as being a unity ticket with a bipartisan
  17   consensus-oriented person fulfilling each role.
  18             14.   As such, No Labels Arizona has no intent or desire to nominate candidates
  19   for any other office to appear on the 2024 general election ballot, at the state or federal
  20   level.     Instead, No Labels Arizona’s sole focus is on the potential nomination of
  21   candidates for President and Vice President.
  22             15.   No Labels Arizona’s Constitution and Bylaws unambiguously set forth No
  23   Labels Arizona’s mission. Under this governing document, No Labels Arizona is to
  24   “obtain ballot access for candidates nominated by No Labels [Arizona] for the federal
  25   offices of President and Vice President” and “shall not nominate” a “candidate for a state,
  26   county, municipal, school, or district office or position.” No Labels Arizona, as expressed
  27   in its governing document, will not use its ballot line for an election for any office other
  28   than President or Vice President.

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   1          16.    No Labels Arizona has structured itself this way because it has determined
   2   this is the best way to pursue its associational goals. The animating purpose of No Labels
   3   Arizona is to ensure that Arizonans have a potential alternative in the 2024 general
   4   election to the Presidential candidates who will be nominated by the major political
   5   parties. This is the central reason individuals have associated with No Labels Arizona to
   6   date. Any detour away from No Labels Arizona’s mission threatens to fracture or repel
   7   the broad coalition that No Labels Arizona must attract to be successful. And any
   8   diversion of time, resources, and/or attention will jeopardize No Labels Arizona’s ability
   9   to achieve its core organizational objective.
  10          17.    No Labels Arizona repeatedly informed the Secretary of No Labels
  11   Arizona’s intention to nominate only candidates for President and Vice President. A June
  12   2, 2023, letter to the Secretary’s counsel, for example, explained that as of that date “the
  13   No Labels Party will nominate a Presidential ticket ‘as provided in § 16-344,’ but it does
  14   not desire to have the names of any other candidates printed on the official ballot at the
  15   2024 general election and will therefore not hold a primary election for any office.” No
  16   Labels Arizona’s Chair sent a letter to the Secretary on August 11, 2023 opting out of the
  17   state’s 2024 Presidential Preference Primary and informing the Secretary again that “the
  18   No Labels Party will nominate candidates only for the offices of President and Vice
  19   President, and does not desire to have the names of candidates for any other office printed
  20   on the official general-election ballot at the 2024 general election.” After learning of the
  21   statements of interest filed by candidates for Corporation Commission and U.S. Senate,
  22   on August 14, 2023, No Labels Arizona again informed the Secretary by letter that No
  23   Labels Arizona “does not intend to make nominations for any public office other than
  24   President and Vice President in 2024, and it would violate both Arizona law and the
  25   United States Constitution to force No Labels Arizona to participate in an election for any
  26   other public office against its will.”
  27          18.    Despite these clear and consistent communications about No Labels
  28   Arizona’s intentions and mission, the Secretary has taken actions to force No Labels

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   1   Arizona to participate in elections for offices other than President and Vice President.
   2          19.     Secretary Fontes indicated in a September 22, 2023 letter from his Elections
   3   Director that any candidate of a party will be permitted to participate in Arizona’s primary
   4   election. The response letter ignored the authorities cited in No Labels Arizona’s letter,
   5   including A.R.S. § 16-301(A) and the First Amendment. Instead, the response letter
   6   asserted that the “candidate who receives the highest number of votes in the Primary
   7   Election will be the political party nominee and appear on the General Election ballot.”
   8          20.     The Secretary’s acceptance of Statements of Interest from non-presidential
   9   candidates and his declared intention to make the primary election winners No Labels
  10   Arizona’s nominees on the general election ballot if allowed to stand, would unlawfully
  11   force No Labels Arizona to participate in an election for the offices of Corporation
  12   Commissioner and U.S. Senator over No Labels’ objections to associating with or
  13   nominating any candidate for those offices. No Labels Arizona may not be compelled
  14   under the Constitution and Arizona law to support, oppose, disavow, or otherwise
  15   participate in the election of candidates for offices it wants nothing to do with.
  16                                    CAUSES OF ACTION
  17   Count 1: Violation of A.R.S. § 16-301(A): A.R.S. § 16-301(A); 22 U.S.C. § 2201; 22
  18                                U.S.C. § 2202; A.R.S. § 12-1832.
  19          21.     No Labels Arizona incorporates and realleges all preceding paragraphs as
  20   if set forth fully herein.
  21          22.     28 U.S.C. § 2201 and A.R.S. § 12-1832 allows this Court to provide No
  22   Labels Arizona with a declaration of its rights under law and 28 U.S.C. § 2202 allows
  23   what other and further relief may be appropriate.
  24          23.     This Court also has the authority to enter an injunction. Melendres v.
  25   Arpaio, 784 F.3d 1254, 1264 (9th Cir. 2015) (noting the district court has broad discretion
  26   in fashioning a remedy, including by entering an injunction).
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   1             24.    Section 16-301(A) identifies when a candidate’s name should be included
   2   on a primary election ballot:
   3             At a primary election, each political party entitled and intending to make
                 nominations for the ensuing general or special election, if it desires to have
   4             the names of its candidates printed on the official ballot at that general or
   5             special election, shall nominate its candidates for all elective, senatorial,
                 congressional, state, judicial, county and precinct offices to be filled at such
   6             election except as provided in § 16-344.
   7   A.R.S. § 16-301(A) (emphasis added).
   8             25.    The cross-referenced statute, A.R.S. § 16-344, does not apply here because
   9   the offices at issue do not involve the office of presidential elector, which is the office
  10   that is addressed in § 16-344.
  11             26.    Secretary Fontes has violated A.R.S. § 16-301(A).
  12             27.    No Labels Arizona does not intend to make nominations in the ensuing
  13   general election for Corporation Commissioner or U.S. Senator.
  14             28.    Consequently, No Labels Arizona does not desire to have the names of any
  15   candidates for Corporation Commissioner or U.S. Senator printed on the general election
  16   ballot.
  17             29.    In fact, No Labels Arizona’s Constitution and Bylaws provide that No
  18   Labels Arizona “shall not nominate” a candidate for any office other than President and
  19   Vice President. The Constitution and Bylaws further limit the membership from taking
  20   any action inconsistent with this prohibition.
  21             30.    In violation of Arizona law, Secretary Fontes is forcing No Labels Arizona
  22   to nominate candidates for elections in which it has no intent or desire to participate.
  23     Count 2: First and Fourteenth Amendment: U.S. Const. Amend. I and XIV, 42
  24                                U.S.C. § 1983, 28 U.S.C. §§ 2201, 2202.
  25             31.    No Labels Arizona incorporates and realleges all preceding paragraphs as
  26   if set forth fully herein.
  27             32.    No Labels Arizona brings this claim under 42 U.S.C. § 1983 and the First
  28   and Fourteenth Amendments. Section 1983 provides a cause of action for a violation of

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   1   constitutional rights:
   2          Every person who, under color of any statute, ordinance, regulation,
   3          custom, or usage, of any State or Territory or the District of Columbia,
              subjects, or causes to be subjected, any citizen of the United States or other
   4          person within the jurisdiction thereof to the deprivation of any rights,
              privileges, or immunities secured by the Constitution and laws, shall be
   5
              liable to the party injured in an action at law, suit in equity, or other proper
   6          proceeding for redress . . . .
   7   42 U.S.C. § 1983.
   8          33.    28 U.S.C. § 2201 allows this Court to provide No Labels Arizona with a
   9   declaration of its rights under the United States Constitution, and 28 U.S.C. § 2202 allows
  10   what other and further relief may be appropriate. This Court also has the authority to
  11   enter an injunction. Melendres, 784 F.3d at 1264 (noting the district court has broad
  12   discretion in fashioning a remedy, including by entering an injunction).
  13          34.    “[A] corollary of the [First Amendment] right to associate is the right not
  14   to associate.” Cal. Democratic Party v. Jones, 530 U.S. 567, 574 (2000). “This First
  15   Amendment freedom to gather in association for the purpose of advancing shared beliefs
  16   is protected by the Fourteenth Amendment from infringement by any State.” Democratic
  17   Party of U. S. v. Wis. ex rel. La Follette, 450 U.S. 107, 121 (1981). Courts have repeatedly
  18   and “vigorously affirm[ed] the special place the First Amendment reserves for, and the
  19   special protection it accords, the process by which a political party ‘select[s] a standard
  20   bearer who best represents the party’s ideologies and preferences,’” Jones, 530 U.S. at
  21   575, holding that a state may not substitute its own judgment for that of an organization
  22   in determining “the structure which best allows it to pursue its political goals,” Tashjian,
  23   479 U.S. at 224. This “special protection” allows an organization to “choose a candidate-
  24   selection process that will in its view produce the nominee who best represents its political
  25   platform.” Lopez Torres, 552 U.S. at 202 (2008). “The political parties are autonomous
  26   in their extension of the right to represent their party.” Duke v. Cleland, 783 F. Supp. 600,
  27   602 (N.D. Ga. 1992), aff'd, 954 F.2d 1526 (11th Cir. 1992).
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   1          35.    A party’s rights in this respect can be “circumscribed” only if the
   2   organization chooses to avail itself of “the right to have their candidates appear with party
   3   endorsement on the general-election ballot.” Lopez Torres, 552 U.S. at 203. At a
   4   fundamental level, an organization has a core right and ability to structure its party and
   5   choose for itself the public offices for which it will put forward a nominee to appear on
   6   the general-election ballot and thereby accept or reject “circumscription” from the state.
   7   This decision to accept or reject state “circumscription” and its attendant consequences
   8   is, by its nature, entirely private and internal to an organization and cannot be overridden.
   9          36.    Courts have protected against state-compelled participation and
  10   association, for example, by refusing to require that a state’s election ballot create an
  11   unreciprocated association between a party and a candidate, see Jones, 530 U.S. at 581–
  12   82 (“We can think of no heavier burden on a political party’s associational freedom” than
  13   “forced association”), and by rejecting a candidate’s insistence that she be allowed to
  14   compete for a party’s general-election nomination via direct primary, see Lopez Torres,
  15   552 U.S. at 202–04; see also Belluso v. Poythress, 485 F. Supp. 904, 912 (N.D. Ga. 1980)
  16   (“Belluso asserts no group’s interest in advancing his candidacy. His claimed need to
  17   ‘associate’ with an unwilling partner, the Republican party in Georgia, is not a first
  18   amendment right. Indeed, to the degree that rights of association are implicated, we think
  19   these rights militate in favor of leaving a party free to limit access to its own primary
  20   ballot.”); Cleland, 783 F. Supp. at 602 (“Likewise, plaintiffs have failed to show the court
  21   that a first amendment right exists which guarantees access to a party’s primary ballot (in
  22   direct contravention of the party’s stated desires).”); Duke v. Massey, 87 F.3d 1226, 1234
  23   (11th Cir. 1996) (“The Republican Party has a First Amendment right to freedom of
  24   association and an attendant right to identify those who constitute the party based on
  25   political beliefs.”). Lastly, courts have recognized that a “minor” political party’s First
  26   Amendment rights are “severely burden[ed]” when a state “forces” the party to run
  27   “candidates for races they want nothing to do with.” Libertarian Party of Ill. v. Scholz,
  28   872 F.3d 518, 524–25 (7th Cir. 2017).

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   1          37.    To be clear, although at least one of the individuals who is seeking to secure
   2   the No Labels Arizona nomination has publicly stated that the goal of the activity “is to
   3   torture No Labels,” No Labels Arizona is not seeking protection against unaffiliated
   4   voters or candidates who are ideologically incompatible. No Labels Arizona objects to
   5   the Secretary’s acceptance of statements of interest filed by candidates for Corporation
   6   Commission and U.S. Senate because it does not want to nominate anyone or participate
   7   in any election for these or any other down-ballot offices.
   8          38.    No Labels Arizona has deliberately structured itself to best pursue its goals.
   9   No Labels Arizona’s objective is to nominate consensus candidates for President and Vice
  10   President. To accomplish this, No Labels Arizona has chosen not to use its ballot line in
  11   primary elections and in the 2024 general election for any offices besides United States
  12   President or Vice President. Its goals would be undermined by participating in any other
  13   election.
  14          39.    Furthering its goals, No Labels Arizona does not intend or desire to
  15   nominate a candidate for any other office. To the extent Secretary Fontes may disagree
  16   with No Labels Arizona’s structure and goals, he may not substitute his own judgment
  17   for that of the party. Democratic Party of U. S., 450 U.S. at 123, 126 (reversing judgment
  18   where the state statute “would violate Party rules”).
  19          40.    Ignoring No Labels Arizona’s considered judgment and the constitutional
  20   guarantees, Secretary Fontes is forcing No Labels Arizona to associate with and nominate
  21   candidates for elections in which it has no desire to participate.
  22          41.    No Labels Arizona’s structure and objectives do not burden any would-be
  23   candidate’s right to run for their desired offices. They may proceed as independents or
  24   with another party that wishes to participate in the election for the office the candidate
  25   seeks. See, e.g., Belluso, 485 F. Supp. at 912 (noting the candidate can seek office
  26   “independently or as the candidate of [another] political party”). And no individual has
  27   a right to appear on a ballot as a party’s candidate or nominee. See, e.g., Lopez Torres,
  28   552 U.S. at 205 (“None of our cases establishes an individual’s constitutional right to

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   1   have a ‘fair shot’ at winning [a] party’s nomination.”).
   2          42.     Similarly, voters also are not prohibited from supporting any candidates in
   3   their pursuit of a public office. Massey, 87 F.3d at 1234 (“Duke’s supporters were not
   4   foreclosed from supporting him as an independent candidate, or as a third-party
   5   candidate”).
   6          43.     Candidates and voters can continue to exercise their rights, but those rights
   7   do not override No Labels Arizona’s rights. Id. at 1232–33 (“Although Duke is correct
   8   in identifying his First and Fourteenth Amendment interests, those interests do not trump
   9   the Republican Party’s right to identify its membership based on political beliefs nor the
  10   state’s interests in protecting the Republican Party’s right to define itself.”)
  11          44.     Secretary Fontes’ actions have violated the First and Fourteenth
  12   Amendments.
  13                                    PRAYER FOR RELIEF
  14          No Labels Arizona prays for relief as follows:
  15          1.      That the Court declare that Secretary Fontes has violated A.R.S. § 16-
  16   301(A);
  17          2.      That the Court declare that Secretary Fontes has violated the First and
  18   Fourteenth Amendments;
  19          3.      That the Court preliminary and permanently enjoin Secretary Fontes from
  20   forcing No Labels Arizona to associate with and nominate a candidate for Corporation
  21   Commissioner and U.S. Senator or for any other office;
  22          4.      That the Court award attorneys’ fees and litigation costs to No Labels
  23   Arizona under 42 U.S.C. § 1988(b);
  24          5.      That the Court retain jurisdiction to ensure Secretary Fontes’ compliance
  25   with its orders; and
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   1         6.     That the Court grant all other and further relief as it may deem necessary
   2   and appropriate.
   3         DATED this 19th day of October, 2023.
   4                                           OSBORN MALEDON, P.A.
   5

   6                                           By       /s/ David B. Rosenbaum
                                                        David B. Rosenbaum
   7                                                    Andrew G. Pappas
                                                        Emma J. Cone-Roddy
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                                                        2929 North Central Avenue, 20th Floor
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  10                                                    Attorneys for Plaintiff
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